Case 2:02-cv-00081-FCD-JFM Document 32 Filed wt Ltt f2
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Michael Anthony, J-128691
PLV.S.P., 33-206

P.O. Box 8503 FILED
Coalinga, CA 9321C
FEB - 2 2006

ERK. US GISTRICT COURT
EAS Con DST PRCT OF CALIFORNIA

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In Pro Par

 

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IN THE DaTtap States DISTRICT COURT

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Michael anthony ) No. GLV¥ $ -02-CO81 FOD TPs
Petitioner, )
) NOTICE OF APPEAL TO THE
VS « ) UNITED. STATES COURT OF
) APPEAL POR THE NINTH
Gail Lewis, Warden, et al, ) CIRCUIT FROM THE JUDGMENT
segpondant, . ) OF THE DISTRICT COURT
}
28 U.S.C. 2253 (@)(2)
PRAP 3. (a)(L)
FRAP 4 (a)(1)
FRAP 4 (ca)
FRAP 22 (b)
Notice is hereby given that “ichael anthony (hereinafter

"Petitioner"), in pro ver, hereby anneals to the United States
Court of Anpesle for the Ninth Gireyit from the final order and
judgement of the United States Metrict Court for the astern
“Nistriet of California, entered in this case on January 4, 2C06,
which petitioner received on January LO, 2CC6, accepting and
adooting the findings and recommendations of the Waristrate Judge.
uwanying the petition for writ of habeas cornus.

This application is based on this pleading as well as the
antire file in this case. Petitioner submits that his claims
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denonstrate a denial of his Pegeral Constitutional right to
effective assistance of trial counsel under the Sixth Amendment
of the United States Constitution as well as the Constitutional
right to [ue Frocegs of Law nursuant to the Fourteenth Amendment
of the United jtates Conatitution. additionally, petitioner was
denied the right to good faith and fair dealing in contractine,
cuarenteed by Article 1, Section 1C of the United States |

Constitution,

Hichkel imthony,

Petitioner in pro per

 

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